Case 23-01092-MBK   Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 3 Page 1 of 19




                            In the Matter Of:

                     In Re: LTL Management, LLC




                      RICHARD DICKINSON
                              April 17, 2023
     Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
      In Re: LTL Management, LLC  Exhibit 3 Page 2 of 19              Richard Dickinson
                                          Confidential                      April 17, 2023

                                                                                    1
·1

·2· ·UNITED STATES BANKRUPTCY COURT
· · ·DISTRICT OF NEW JERSEY
·3· ·--------------------------------------------X
· · ·In Re:
·4

·5· ·LTL MANAGEMENT, LLC,

·6· · · · · · · · · · · · · · ·Debtor.

·7
· · ·Case No. 21-30589 (MBK)
·8· ·--------------------------------------------X

·9· · · · · · · ·***CONFIDENTIAL***

10

11

12· ·VIDEOTAPED DEPOSITION OF RICHARD DICKINSON

13

14

15

16· ·DATE:· April 17, 2023

17· ·TIME:· 10:02 a.m.

18· ·PLACE:· ***REMOTE***

19· ·BEFORE:· Rebecca Schaumloffel, RPR, CCR-NJ

20· ·JOB NO:· 2023-893393

21

22

23

24

25


      www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 1
     Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
      In Re: LTL Management, LLC  Exhibit 3 Page 3 of 19              Richard Dickinson
                                          Confidential                      April 17, 2023

                                                                                    2
·1

·2· ·A P P E A R A N C E S:

·3

·4

·5· · BROWN RUDNICK
· · · · · ·Attorneys for the Talc Claimants
·6· · · · ·7 Times Square
· · · · · ·New York, New York 10036
·7· · · · ·BY:· LYDELL BENSON, ESQ.
· · · · · · · · MARK S. BALDWIN, ESQ.
·8

·9

10

11
· · · GENOVA BURNS, LLC
12· · · · ·Attorneys for Creditors' Committee
· · · · · ·110 Allen Road, Suite 304
13· · · · ·Basking Ridge, New Jersey
· · · · · ·BY:· DANIEL STOLZ, ESQ.
14

15

16

17· · JONES DAY
· · · · · ·Attorneys for the Debtor
18· · · · ·250 Vesey Street
· · · · · ·Suite 31
19· · · · ·New York, New York 10281
· · · · · ·BY:· JAMES JONES, ESQ.
20· · · · · · · MARK RASMUSSEN, ESQ.

21

22

23· · LEVY KONIGSBERG
· · · · · ·Attorneys for Talc Claimants
24· · · · ·605 Third Avenue, 33rd floor
· · · · · ·New York, New York 10158
25· · · · ·BY:· JEROME BLOCK, ESQ.


      www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 2
     Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
      In Re: LTL Management, LLC  Exhibit 3 Page 4 of 19              Richard Dickinson
                                          Confidential                      April 17, 2023

                                                                                    3
·1

·2

·3· ·Appearances (continued:)

·4

·5

·6· · · LOWENSTEIN SANDLER
· · · · · · ·1251 Avenue of the Americas
·7· · · · · ·New York, New York 10020
· · · · · · ·BY:· JENN KIMBLE, ESQ.
·8

·9

10

11· · · OFFICE OF THE UNITED STATES TRUSTEE
· · · · · · ·Attorneys for the United States
12· · · · · ·Department of Justice
· · · · · · ·One Newark Center
13· · · · · ·Suite 2100
· · · · · · ·Newark, New Jersey 07102
14· · · · · ·BY:· JEFF SPONDER, ESQ.

15

16

17
· · · · PACHULSKI STANG ZIEHL & JONES
18· · · · · ·Attorneys for Arnold & Itkin
· · · · · · ·10100 Santa Monica Boulevard
19· · · · · ·13th floor
· · · · · · ·Los Angeles, California 90067
20· · · · · ·BY:· KAREN DINE, ESQ.

21

22

23· · · THE RUCKDESCHEL LAW FIRM, LLC
· · · · · · ·Attorneys for Paul Crouch
24· · · · · ·8357 Main Street
· · · · · · ·Ellicott City, Maryland 21043
25· · · · · ·BY:· JONATHAN RUCKDESCHEL, ESQ.


      www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 3
     Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
      In Re: LTL Management, LLC  Exhibit 3 Page 5 of 19              Richard Dickinson
                                          Confidential                      April 17, 2023

                                                                                    4
·1

·2

·3· ·Appearances (continued:)

·4

·5
· · · · SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
·6· · · · · ·Attorneys for the Debtors
· · · · · · ·One Manhattan West
·7· · · · · ·New York, New York 10001
· · · · · · ·BY:· (No appearance)
·8

·9

10

11· · · WHITE & CASE
· · · · · · ·Attorneys for Johnson & Johnson
12· · · · · ·767 Fifth Avenue
· · · · · · ·New York, New York 10153
13· · · · · ·BY:· JOSHUA WEEDMAN, ESQ.
· · · · · · · · · KATHYRN KUETHMAN, ESQ.
14

15

16· · · WOMBLE BOND DICKINSON
· · · · · · ·Attorneys for Ad Hoc Committee of
17· · · · · ·States Attorney Generals
· · · · · · ·100 Light Street
18· · · · · ·26th floor
· · · · · · ·Baltimore, Maryland 21202
19· · · · · ·BY:· LISA TANCREDI, ESQ.

20

21

22· · · ALSO PRESENT:

23
· · · · · · ·Deane Carstensen, Lexitas
24· · · · · ·John Kim, Esq.

25
· · · · · · ·*· · · · · *· · · · ·*


      www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 4
                                                                                             YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC  Exhibit 3 Page 6 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                                 5
·1· · · · · · · R. DICKINSON

·2· · · · ·THE VIDEOGRAPHER:· We are now on

·3· ·the record.· Today's date is April 14,

·4· ·2023, and the time right now is

·5· ·10:04 a.m. Eastern Daylight Time.

·6· · · · ·This is the video deposition of

·7· ·Richard Dickinson in the matter of LTL

·8· ·Management, LLC, filed in the United

·9· ·States Bankruptcy Court, District of

10· ·New Jersey, case number 23-12825

11· ·(MBK).

12· · · · ·This deposition is taking place

13· ·via web video conference with all

14· ·participants attending remotely.

15· · · · ·My name is Dean Carstensen.· I'm

16· ·the videographer representing Lexitas.

17· · · · ·Counsel will be noted on the

18· ·stenographic record.

19· · · · ·And our court reporter today is

20· ·Rebecca Schaumloffel, also

21· ·representing Lexitas.

22· · · · ·The court reporter can now swear

23· ·in the witness and then we may

24· ·proceed.

25· · · · ·THE COURT REPORTER:· And just to


   www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 5
                                                                                          YVer1f
     Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
      In Re: LTL Management, LLC  Exhibit 3 Page 7 of 19              Richard Dickinson
                                          Confidential                      April 17, 2023

                                                                                    6
·1· · · · · · · · · ·R. DICKINSON

·2· · · · note:· Today's date is April 17, 2023.

·3

·4

·5· ·RICHARD DICKINSON, called as a witness,

·6· ·having been first duly sworn by a Notary

·7· ·Public of the States of New York, New

·8· ·Jersey, and Pennsylvania was examined and

·9· ·testified as follows:

10· · · · · · · MR. JONES:· Lydell, excuse me,

11· · · · just for a second.

12· · · · · · · Mr. Dickinson, excuse me, as

13· · · · well.

14· · · · · · · We have a standing agreement

15· · · · with the committee in these cases

16· · · · about provisional confidentiality of

17· · · · the transcript.· It should be marked

18· · · · as confidential pursuant to that

19· · · · agreement.

20· · · · · · · We will be making new

21· · · · designations of confidentiality within

22· · · · 24 hours of receiving the final

23· · · · transcript, but anyone on the call now

24· · · · who will not abide by provisional

25· · · · confidentiality should sign off.                   I


      www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 6
                                                                                             YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC  Exhibit 3 Page 8 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                                 7
·1· · · · · · · · · ·R. DICKINSON

·2· · · · know Mr. Sponder is going to make a

·3· · · · statement, and that's fine.

·4· · · · · · · But, others, please sign off if

·5· · · · you're not willing to abide by

·6· · · · provisional confidentiality.

·7· · · · · · · Thank you very much.

·8· · · · · · · MR. SPONDER:· Hi.· This is Jeff

·9· · · · Sponder from the office of the United

10· · · · States Trustee.

11· · · · · · · Judge Kaplan made a ruling on

12· · · · this past Thursday carving out the

13· · · · United States Trustee from the

14· · · · District of New Jersey,

15· · · · confidentiality or protective order,

16· · · · and the United States Trustee did not

17· · · · sign on to the prior case, LTL I one

18· · · · Protective Order.

19· · · · · · · Thank you.

20· · · · · · · MR. BENSON:· All right.· I think

21· · · · we can get started.

22· ·EXAMINATION BY

23· ·MR. BENSON:

24· · · · Q.· · Good morning, Mr. Dickinson.

25· · · · A.· · Good morning.


   www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 7
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC  Exhibit 3 Page 9 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                                 8
·1· · · · · · · · · ·R. DICKINSON

·2· · · · Q.· · Can you hear me okay?

·3· · · · A.· · I can.

·4· · · · Q.· · All right.· My name is Lydell

·5· ·Benson.· I'm an attorney with Brown Rudnick.

·6· ·Brown Rudnick, we represent the Official

·7· ·Committee of Talc Claimants.

·8· · · · · · · How are you doing this morning?

·9· · · · A.· · I'm doing great.· How are you?

10· · · · Q.· · I'm doing well.

11· · · · · · · Are you represented by counsel

12· ·this morning?

13· · · · A.· · I am.

14· · · · Q.· · Could you please state your full

15· ·name for the record?

16· · · · A.· · Richard Frank Dickinson.

17· · · · Q.· · Mr. Dickinson, you were deposed in

18· ·connection with LTL's first bankruptcy,

19· ·correct?

20· · · · A.· · That is correct.

21· · · · Q.· · By Jeff Jonas, right?

22· · · · A.· · And others, correct.

23· · · · Q.· · And was that your first

24· ·deposition?

25· · · · A.· · Yes.


   www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 8
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 10 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                                 9
·1· · · · · · · · · ·R. DICKINSON

·2· · · · Q.· · Was that the last time you were

·3· ·deposed?

·4· · · · A.· · That is.

·5· · · · Q.· · Okay.· Well, given that, let me go

·6· ·over a few housekeeping matters for today's

·7· ·deposition.

·8· · · · · · · The court reporter will take down

·9· ·my questions and your answers, so it's

10· ·critical that you provide verbal responses to

11· ·my questions.· Sometimes deponents will nod

12· ·their head or respond with uh-hum or mh-hmm

13· ·or hm-hmmm.· I will correct you if that

14· ·happens, but if you can try your best to give

15· ·verbal responses, that would be great.

16· · · · · · · It's also critical that only one

17· ·of us are speaking at a time, including your

18· ·counsel when we might be engaged in the back

19· ·and forth.· So I will do my best to allow you

20· ·to finish answering your question and I would

21· ·ask that you allow me to finish asking my

22· ·question before you begin.

23· · · · · · · Is that clear?

24· · · · A.· · Yes.· Mr. Benson, it's a little

25· ·muffled at times to hear you.


   www.LexitasLegal.com/Premier          Lexitas                  888-267-1200 Page 9
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 11 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                               10
·1· · · · · · · · · ·R. DICKINSON

·2· · · · Q.· · How about now?

·3· · · · A.· · I think that's better, but...

·4· · · · Q.· · Okay, I'll try my best.

·5· · · · · · · THE COURT REPORTER:· I was going

·6· · · · to say the same thing.· You were going

·7· · · · in and out.

·8· · · · · · · MR. BENSON:· Okay.· How about

·9· · · · now?

10· · · · · · · THE COURT REPORTER:· Now seems

11· · · · okay.

12· · · · · · · MR. BENSON:· Okay, good.

13· · · · · · · MR. BLOCK:· If you just keep

14· · · · your voice up, I think that will be

15· · · · fine.

16· · · · · · · MR. BENSON:· Okay, I can do

17· · · · that.

18· ·BY MR. BENSON:

19· · · · Q.· · Mr. Dickinson, if you do not

20· ·understand a question, please ask for

21· ·clarification.· If you cannot hear my

22· ·question or if I'm not speaking loud enough,

23· ·you know, as you just did, please let me know

24· ·and I will try my best to raise my voice.

25· · · · · · · I may ask a bad question.· If I


   www.LexitasLegal.com/Premier          Lexitas                 888-267-1200 Page 10
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 12 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                               11
·1· · · · · · · · · ·R. DICKINSON

·2· ·do, just let me know; I will try to rephrase

·3· ·it, have it read back.

·4· · · · · · · You understand that today you are

·5· ·giving testimony under oath?

·6· · · · A.· · I do.

·7· · · · Q.· · You understand that means that you

·8· ·are legally obligated to answer these

·9· ·questions truthfully?

10· · · · A.· · I do.

11· · · · Q.· · So we are seeking complete

12· ·information that encompasses all of your

13· ·knowledge on the subjects that we will cover

14· ·today.· And the purpose is for you to provide

15· ·complete and truthful answers.

16· · · · · · · Is there any reason that you're

17· ·aware of that you cannot testify completely

18· ·and honestly today?

19· · · · A.· · No.

20· · · · Q.· · You are welcome to ask for a

21· ·break, but I do ask that if I'm in the middle

22· ·of a question or if I have a pending

23· ·question, that you just let me finish that

24· ·before the break.· You don't need to give me

25· ·a reason why, that's totally fine.


   www.LexitasLegal.com/Premier          Lexitas                 888-267-1200 Page 11
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 13 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                               12
·1· · · · · · · · · ·R. DICKINSON

·2· · · · · · · Is that understood?

·3· · · · A.· · Thank you for that, Mr. Benson.

·4· ·Yes, it's understood.

·5· · · · Q.· · All right.· If during the

·6· ·deposition, you remember something that

·7· ·changes a previous answer, please -- so you

·8· ·can correct your prior answer.

·9· · · · · · · Also, you may hear objections to

10· ·certain questions, which is fine.· In the

11· ·event that that happens, you should still do

12· ·the best that you can to answer my question.

13· ·If you are instructed not to answer, it's up

14· ·to you to take that advice of counsel.

15· · · · · · · And, again, just to reorient you,

16· ·just because we are taking a remote

17· ·deposition, what we'll do is I'll call out

18· ·documents, for example, tab 1, and the doc

19· ·tech will put the document on the screen as

20· ·we went through earlier.

21· · · · · · · THE COURT REPORTER:· Excuse me,

22· · · · whoever is not speaking, please mute

23· · · · yourself.· Thank you.

24· · · · · · · I muted them.

25· · · · Q.· · Mr. Dickinson, if I say LTL I or


   www.LexitasLegal.com/Premier          Lexitas                 888-267-1200 Page 12
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 14 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                               13
·1· · · · · · · · · ·R. DICKINSON

·2· ·LTL's first bankruptcy, can we agree that I'm

·3· ·referring to the bankruptcy filed on

·4· ·October 14, 2021?

·5· · · · A.· · Yes.

·6· · · · Q.· · And if I say LTL II or LTL second

·7· ·bankruptcy, can we agree that I'm referring

·8· ·to the LTL's bankruptcy filed on April 4,

·9· ·2023?

10· · · · A.· · Yes.

11· · · · Q.· · Great.· Mr. Dickinson, where are

12· ·you located right now?

13· · · · A.· · I'm in New Brunswick, New Jersey.

14· · · · Q.· · Okay.· Is there anyone else in the

15· ·room with you?

16· · · · A.· · No.

17· · · · Q.· · I take it you are at your office?

18· · · · A.· · I am.

19· · · · Q.· · Okay.· So I assume you have other

20· ·materials in the room with you, your

21· ·computer, the mouse, notepads or notes, and

22· ·things like that?

23· · · · A.· · That is correct.

24· · · · Q.· · Do you have any other documents in

25· ·the room with you right now or at your ready?


   www.LexitasLegal.com/Premier          Lexitas                 888-267-1200 Page 13
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 15 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                              136
·1· · · · · · · · · ·R. DICKINSON

·2· ·So...

·3· · · · Q.· · Sir, could you identify any

·4· ·financial consequence to LTL from terminating

·5· ·the 2021 Funding Agreement?

·6· · · · A.· · I'm going to defer to Mr. Kim and

·7· ·the legal team for that answer.

·8· · · · Q.· · So you, personally, cannot

·9· ·identify any financial consequence to LTL

10· ·from terminating the 2021 Funding Agreement,

11· ·true?

12· · · · · · · MR. JONES:· Object as asked and

13· · · · answered.

14· · · · A.· · No.

15· · · · Q.· · No, you cannot?

16· · · · A.· · I already answered that question.

17· · · · Q.· · Sir, I just don't want to have a

18· ·double negative.· You said no.· And I was

19· ·just trying -- so we're going to have to do

20· ·that again.

21· · · · · · · Mr. Dickinson, can you,

22· ·personally, identify any financial

23· ·consequence to LTL from terminating the 2021

24· ·Funding Agreement, yes or no?

25· · · · A.· · No, I cannot.


   www.LexitasLegal.com/Premier          Lexitas                888-267-1200 Page 136
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 16 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                              151
·1· · · · · · · · · ·R. DICKINSON

·2· · · · Mr. Prieto told you.

·3· · · · · · · But you can answer the question

·4· · · · about other persons.

·5· ·BY MR. BLOCK:

·6· · · · Q.· · Let me rephrase the question.

·7· · · · · · · Other than what is shown here in

·8· ·the minutes about what Mr. Prieto said to you

·9· ·about the risk that the 2021 Funding

10· ·Agreement was potentially void or voidable,

11· ·do you have any other information about that?

12· · · · A.· · Once again, I'm going to defer to

13· ·the meeting minutes.· There could have been

14· ·-- more than Mr. Prieto, but I'm going defer

15· ·to the meeting minutes, resolutions, and the

16· ·presentations.

17· · · · Q.· · Okay.· No businessperson at JJCI

18· ·or J&J ever told you as a businessperson that

19· ·the 2021 Funding Agreement was void or

20· ·voidable, correct?

21· · · · A.· · That is correct.

22· · · · Q.· · No businessperson at J&J or JJCI

23· ·ever told you that they thought the 2021

24· ·Funding Agreement was unenforceable, correct?

25· · · · · · · MR. JONES:· Are you defining


   www.LexitasLegal.com/Premier          Lexitas                888-267-1200 Page 151
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 17 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                              152
·1· · · · · · · · · ·R. DICKINSON

·2· · · · "businesspersons" other than lawyers?

·3· · · · · · · MR. BLOCK:· Let's have the

·4· · · · question read back.

·5· · · · · · · Yes, of course.

·6· · · · · · · MR. JONES:· All right.· There

·7· · · · are business lawyers who are

·8· · · · credentialed with a JD, Mr. Block.

·9· · · · · · · MR. BLOCK:· Let's just have the

10· · · · question read back so we can get a

11· · · · clean answer.

12· · · · · · · Actually, let me it ask again.

13· · · · I think it will be quicker.

14· · · · · · · Sorry, Madam reporter.

15· ·BY MR. BLOCK:

16· · · · Q.· · Sir, can you hear me okay?

17· · · · A.· · I can.

18· · · · Q.· · Okay.· Mr. Dickinson, no

19· ·businessperson at J&J or JJCI ever told you

20· ·that they believed that the 2021 Funding

21· ·Agreement was unenforceable, correct?

22· · · · A.· · Correct.

23· · · · · · · MR. JONES:· Object -- you may

24· · · · share that which is not a privileged

25· · · · communication with counsel, if there


   www.LexitasLegal.com/Premier          Lexitas                888-267-1200 Page 152
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 18 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                              162
·1· · · · · · · · · ·R. DICKINSON

·2· ·its liabilities on April 3, 2023?

·3· · · · A.· · Mr. Ruckdeschel, with all due

·4· ·respect, I already answered that question.

·5· · · · Q.· · You didn't, sir.· You said --

·6· · · · A.· · I did answer that question.                I

·7· ·just -- I referred you to the document that

·8· ·you make your own conclusion, you know, from

·9· ·the document that was within the -- imbedded

10· ·in the presentation and in our MOR filings.

11· · · · Q.· · On April 3 of 2023, was LPL able

12· ·to meet its liabilities as they came due?

13· · · · A.· · Yes.

14· · · · Q.· · All right.· On April 4, after the

15· ·restructuring, was LTL able to meet its

16· ·liabilities as they came due?

17· · · · A.· · Yes.

18· · · · Q.· · All right.· Now, sir, with respect

19· ·to the restructuring -- I'm sorry, strike

20· ·that question.

21· · · · · · · With respect to the dismissal of

22· ·the first bankruptcy, after the dismissal

23· ·order was entered on January 30th, I believe,

24· ·of 2023, did LTL perform any evaluation as to

25· ·how much money it would take to fund a return


   www.LexitasLegal.com/Premier          Lexitas                888-267-1200 Page 162
                                                                                          YVer1f
  Case 23-01092-MBK      Doc -5 Filed 04/24/23 Entered 04/24/23 12:06:09 Desc
   In Re: LTL Management, LLC Exhibit 3 Page 19 of 19              Richard Dickinson
                                       Confidential                      April 17, 2023

                                                                              163
·1· · · · · · · · · ·R. DICKINSON

·2· ·to litigating talc claims in the tort system

·3· ·over the following 12 months?

·4· · · · A.· · I didn't see any written

·5· ·estimation or nor do I know of any.

·6· · · · Q.· · All right.· And would that -- that

·7· ·would be the same with respect to if I

·8· ·expanded that period over the next -- did

·9· ·LTL, after the January 30 dismissal order

10· ·from the Third Circuit, did LTL perform any

11· ·evaluation of how much cash flow it would

12· ·require to manage its talc liabilities in the

13· ·tort system over the next three years?

14· · · · A.· · I didn't see anything in writing,

15· ·nor did I do it.

16· · · · Q.· · All right.· And you are not aware

17· ·of any evaluation that was performed -- you,

18· ·the CFO of LTL, are not aware of any

19· ·evaluation that was performed to ascertain

20· ·what the expected cash flow demands would be

21· ·of returning these cases to the tort system.

22· · · · · · · Fair?

23· · · · A.· · That is fair, Mr. Ruckdeschel.

24· · · · · · · MR. RUCKDESCHEL:· All right.

25· · · · And I have no further questions.


   www.LexitasLegal.com/Premier          Lexitas                888-267-1200 Page 163
                                                                                          YVer1f
